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                                        P3, LLC
                                 (Debtor in Possession)
                         Cash Flow Statement All Stores+ Main
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $   187,896
   Sales Tax Pass Thru                                                          $   (74,503)




      Net Cash Flow from Operating Activities                                                   $   113,393


Cash Flows from Investing Activities
    Payroll Transfer & Sales Tax All Stores                                     $   (106,142)
                                                                                $        -
      Net Cash Flow from Investing Activities                                                   $   (106,142)


Cash Flows from Financing Activities
       Decrease in Notes Payable-Element                                        $    (32,996)
       Decrease in Notes Payable-LEAF                                           $     (1,593)
       Decrease in Notes Payable-NFA                                            $     (4,911)
      Net Cash Flow from Financing Activities                                                   $    (39,500)

      Net Change in Cash                                                                        $   (32,249)
      Beginning Cash Balance                                                                    $   478,953
      Ending Cash Balance                                                                       $   484,612
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                                       P3, LLC
                                (Debtor in Possession)
                        Cash Flow Statement Store #139 (7126)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $     45,104
   Sales Tax Pass Thru                                                          $    (11,743)
      Net Cash Flow from Operating Activities                                                    $         33,361


Cash Flows from Investing Activities
                                                                                $          -
                                                                                $          -
      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       LEAF                                                                     $       (177)
                                                                                $        -
      Net Cash Flow from Financing Activities                                                    $         (3,030)

      Net Change in Cash                                                                         $         30,331
      Beginning Cash Balance                                                                     $         57,346
      Ending Cash Balance                                                                        $         87,677

                                       P3, LLC
                                (Debtor in Possession)
                       Cash Flow Statement Store #2423 (7134)
                        For 30 Days Ending November 30, 2016
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Cash Flows from Operating Activities
   Operating Income                                                             $    32,655
   Sales Tax Pass Thru                                                          $    (9,384)


      Net Cash Flow from Operating Activities                                                    $         23,271


Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (9,672)
       LEAF                                                                     $       (177)

      Net Cash Flow from Financing Activities                                                    $         (9,849)
      Net Change in Cash                                                                         $         13,422
      Beginning Cash Balance                                                                     $         43,124
      Ending Cash Balance                                                                        $         56,546




                                       P3, LLC
                                (Debtor in Possession)
                    Cash Flow Statement Store Store #2794 (7142)
                       For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    14,692
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   Sales Tax Pass Thru                                                          $     (6,701)
      Net Cash Flow from Operating Activities                                                    $          7,991


Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       Leaf                                                                     $       (177)

      Net Cash Flow from Financing Activities                                                    $         (3,030)
      Net Change in Cash                                                                         $          4,961
      Beginning Cash Balance                                                                     $         28,559
      Ending Cash Balance                                                                        $         33,520




                                       P3, LLC
                                (Debtor in Possession)
                    Cash Flow Statement Store Store #2920 (7159}
                       For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    19,918
   Sales Tax Pass Thru                                                          $    (7,604)

      Net Cash Flow from Operating Activities                                                    $         12,314
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Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       LEAF                                                                     $       (177)
       NFA                                                                      $     (4,911)

      Net Cash Flow from Financing Activities                                                    $         (7,941)
      Net Change in Cash                                                                         $          4,373
      Beginning Cash Balance                                                                     $         43,283
      Ending Cash Balance                                                                        $         47,656




                                       P3, LLC
                                (Debtor in Possession)
                       Cash Flow Statement Store #3519 (7175)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    15,077
   Sales Tax Pass Thru                                                          $    (5,970)
      Net Cash Flow from Operating Activities                                                    $          9,107


Cash Flows from Investing Activities                                            $          -
                                                                                $          -
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      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       LEAF                                                                     $       (177)

      Net Cash Flow from Financing Activities                                                    $         (3,030)
      Net Change in Cash                                                                         $          6,077
      Beginning Cash Balance                                                                     $         30,190
      Ending Cash Balance                                                                        $         36,267




                                       P3, LLC
                                (Debtor in Possession)
                       Cash Flow Statement Store #3970 (7183)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    21,170
   Sales Tax Pass Thru                                                          $    (7,389)
      Net Cash Flow from Operating Activities                                                    $         13,781


Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
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      ECN Element                                                               $     (2,853)
      LEAF                                                                      $       (177)

      Net Cash Flow from Financing Activities                                                    $         (3,030)
      Net Change in Cash                                                                         $         10,751
      Beginning Cash Balance                                                                     $         38,011
      Ending Cash Balance                                                                        $         48,762




                                       P3, LLC
                                (Debtor in Possession)
                       Cash Flow Statement Store #4006 (7191)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    17,355
   Sales Tax Pass Thru                                                          $    (6,000)

      Net Cash Flow from Operating Activities                                                    $         11,355


Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       LEAF                                                                     $       (177)
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      Net Cash Flow from Financing Activities                                                    $         (3,030)
      Net Change in Cash                                                                         $          8,325
      Beginning Cash Balance                                                                     $         27,908
      Ending Cash Balance                                                                        $         36,233




                                       P3, LLC
                                (Debtor in Possession)
                       Cash Flow Statement Store #4669 (7209)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $      8,003
   Sales Tax Pass Thru                                                          $     (6,093)

      Net Cash Flow from Operating Activities                                                    $          1,910


Cash Flows from Investing Activities                                            $          -
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (2,853)
       LEAF                                                                     $       (177)

      Net Cash Flow from Financing Activities                                                    $         (3,030)
      Net Change in Cash                                                                         $         (1,120)
      Beginning Cash Balance                                                                     $         23,535
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      Ending Cash Balance                                                                        $         22,415
                                      P3, LLC
                               (Debtor in Possession)
                      Cash Flow Statement Store #13662 (7217)
                       For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities
   Operating Income                                                             $    13,922
   Sales Tax Pass Thru                                                          $    (7,619)
      Net Cash Flow from Operating Activities                                                    $          6,303

Cash Flows from Investing Activities
                                                                                $          -

      Net Cash Flow from Investing Activities                                                    $            -


Cash Flows from Financing Activities
       ECN Element                                                              $     (3,353)
       LEAF                                                                     $       (177)

      Net Cash Flow from Financing Activities                                                    $         (3,530)
      Net Change in Cash                                                                         $          2,773
      Beginning Cash Balance                                                                     $         35,352
      Ending Cash Balance                                                                        $         38,125

                                       P3, LLC
                                (Debtor in Possession)
                          Cash Flow Statement Main (7225)
                        For 30 Days Ending November 30, 2016

Cash Flows from Operating Activities

        Sales Tax & Payroll Transfers                                           $   (102,142)
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                                                                                                 $    (102,142)

Cash Flows from Investing Activities


      Net Cash Flow from Investing Activities                                                    $         -


Cash Flows from Financing Activities                                            $          -
                                                                                $          -
                                                                                $          -

      Net Cash Flow from Financing Activities                                                    $         -
      Net Change in Cash                                                                         $    (102,142)
      Beginning Cash Balance                                                                     $     179,553
      Ending Cash Balance                                                                        $      77,411
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                                                              P3, LLC
                                                         Balance Sheet
                                                     (Debtor in Possession)
                                                       October 31,2016
                                                 (See Notes to Balance Sheet)

                 Assets                                             Liabilities and Capital

Current Assets                                                      Current Liabilities

Cash on Hand
  Store 139                            $         1,400              Accounts/Notes Payable-Pre Filing         $   2,471,022
  Store 2423                           $         1,400              Accounts Payable - Post filing            $     143,394
  Store 2794                           $         1,400              Sales Tax-Payable
  Store 2920                           $         1,400
  Store 3519                           $         1,400
  Store 3970                           $         1,400
  Store 4006                           $         1,400
  Store 4669                           $         1,400
  Store 13662                          $         1,400

Total Cash on Hand                     $       12,600

Cash in Bank
  General                              $       77,411
  Store 139                            $       87,676
  Store 2423                           $       56,546
  Store 2794                           $       33,520
  Store 2920                           $       47,656
  Store 3519                           $       36,267
  Store 3970                           $       48,762
  Store 4006                           $       36,233
  Store 4669                           $       22,415
  Store 13662                          $       38,125

Total Cash in Bank                     $      484,611

Tota Current Assets                    $      497,211               Total Current Liabilities                 $   2,614,416

Fixed Assets
   Furniture, Fixtures & Equipment     $    1,047,572
   Auto                                $       22,000

Total Fixed Assets                     $    1,069,572

Leasehold Improvements                 $      322,473

Franchise Fee                          $       25,000               Capital                                   $   (943,510)

Total Assets                           $    1,889,256               Total Liabilities & Capital               $   1,670,906



       Notes to Balance Sheet

As soon as the court order was signed on October 8,2016 employing Aldridge Chaseswater, LLC, Joan deSouza
Frank Phelps as accounting and business consultants, the added task of reconstructing the formal books
of accounts began to emerge. Starting September 22, 2016 the task of reconstructing the books
began prior to the court order by focusing on balances owed to all creditors, making sure payroll for +250
empoyees was properly taken care of including making sure all payroll taxes were all current, sanitation
measures were all current, sanitation measures were properly carried out, and in compliance with applicable
laws, studying an efficient electronic accounting reporting system to be installed, a necessity to protect
the financial investment made by all. Since date of filing on October 6, 2016 the process has been accelerated.


Please note that no reliable historical books of accounts exist and therefore beginning October 6, 2016 and
continuing forward are being developed and thus requiring further amendments to presented financial
statements may occur from time to time as further information unfolds.
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Current Assets
Cash on Hand as shown is kept at each store in a secured manner under control of each store manager
and is signed off daily as counted each evening.

Cash in Bank as shown has been verified with US Bank demonstrated by a paper trail bank statement and
transaction journal prepared indepently by US Bank and signed off by a banking official.

Inventory is not shown but rather expensed off to each store because there is very little shelf life that can be
assigned to either perishable there is very little shelf life that can be assigned to either perishable
food and paper items.

Fixed Assets , Leasehold Improvements and Franchise Fee have not been depreciated or amortized at this point
in time until such time as an inventory can be concluded disclosing purchase can be concluded disclosing purchase
can be concluded disclosing purchase dates and a detailed list of said assets,

Other Assets
The amount due from Peterson has been estimated until investigation is completed determining the
correct amount to be recovered


Liabilities
All creditors' amounts due were taken from court records and/or company records and will be amended from
time to time as new information surfaces.

Capital
Because no reliable historialc records are available, the amount so stated will be amended once new data can
be verified.
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                                                                                             P3 Foods,LLC
                                                                                        Debtor in Possession
                                                                   Consolidated and Individual Store Income Statement Cash Basis
                                                                               November 1 -November 30, 2016
                                                                              (See Notes to Income Statement)
Store Numbers                            All Stores       % to Sales         139      % to Sales         2423     % to Sales     2794      % to Sales       2920       % to Sales       3519      % to Sales       3970       % to Sales       4006      % to Sales       4669      % to Sales       13662      % to Sales

Gross Sales                              $    951,928         100.00%       160,515      100.00%        118,693    100.00%        85,249    100.00%          101,708    100.00%         101,604    100.00%          101,604    100.00%          94,155    100.00%          86,444    100.00%          101,956    100.00%

Cost of Goods Sold                       $    301,386          31.66% $      48,530       30.23% $       36,352     30.63% $     27,525       32.29% $        29,288      28.80% $      30,208       29.73% $       30,099       29.62% $      30,989       32.91% $      28,215       32.64% $       40,180       39.41%

Gross Profit                             $    650,542          68.34% $     111,985       69.77% $       82,341     69.37% $     57,724       67.71% $        72,420      71.20% $      71,396       70.27% $       71,505       70.38% $      63,166       67.09% $      58,229       67.36% $       61,776       60.59%

Labor

Store Managers                           $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Crew                                     $    211,691          22.24%   $    35,531       22.14%    $    27,044     22.78%   $   20,520       24.07%    $     24,188      23.78%    $   19,290       18.99%    $    18,897       18.60%    $   20,064       21.31%    $   24,628       28.49%    $    21,529       21.12%
Regional Managers                        $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
General Managers                         $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
CEO                                      $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
CEO Expenses                             $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Payroll Taxes                            $        -             0.00%   $       -          0.00%    $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%

Total Labor                              $    211,691          22.24% $      35,531       22.14% $       27,044     22.78% $     20,520       24.07% $        24,188      23.78% $      19,290       18.99% $       18,897       18.60% $      20,064       21.31% $      24,628       28.49% $       21,529       21.12%

Burger King Expenses

Royalties                                $         -            0.00%                       0.00%   $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Rent                                     $      95,244         10.01% $      11,465         7.14%   $       -        0.00%   $   10,618       12.46%    $     12,540      12.33%    $   12,298       12.10%    $    12,298       12.10%    $   10,874       11.55%    $   11,871       13.73%    $    13,280       13.03%
Real Estate Taxes                        $      35,393          3.72% $       3,695         2.30%   $       -        0.00%   $    4,145        4.86%    $      5,239       5.15%    $    5,121        5.04%    $     5,121        5.04%    $    5,511        5.85%    $    3,358        3.88%    $     3,203        3.14%
Advertising/{nvspending                  $         -            0.00%                       0.00%   $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%

Total Burger King Expenses               $    130,637          13.72% $      15,160         9.44% $         -        0.00% $     14,763       17.32% $        17,779      17.48% $      17,419       17.14% $       17,419       17.14% $      16,385       17.40% $      15,229       17.62% $       16,483       16.17%

General & Administrative Expenses

Mileage                                  $         -            0.00% $         -           0.00% $         -        0.00% $        -          0.00% $           -         0.00% $         -          0.00% $          -          0.00% $         -          0.00% $         -          0.00% $          -          0.00%
Medical                                  $         -            0.00% $         -           0.00% $         -        0.00% $        -          0.00% $           -         0.00% $         -          0.00% $          -          0.00% $         -          0.00% $         -          0.00% $          -          0.00%
Credit Card Charges                      $      13,681          1.44% $       2,539         1.58% $         785      0.66% $      1,211        1.42% $         1,686       1.66% $       1,280        1.26% $        1,782        1.75% $       1,729        1.84% $       1,551        1.79% $        1,118        1.10%
Payroll Processing-All Stores                                         $       1,739
Office                                   $       5,776          0.61% $         922         0.57%   $       500      0.42%   $      500        0.59%    $        500       0.49%    $      500        0.49%    $       500        0.49%    $    1,354        1.44%    $      500        0.58%    $       500        0.49%
Insurance                                $         -            0.00% $       1,959         1.22%   $     1,839      1.55%   $    1,052        1.23%    $      1,835       1.80%    $    1,885        1.86%    $     1,885        1.86%    $    1,339        1.42%    $    1,832        2.12%    $     1,966        1.93%
Accounting & Financial Services          $      20,000          2.10% $       2,400         1.50%   $     2,200      1.85%   $    2,200        2.58%    $      2,200       2.16%    $    2,200        2.17%    $     2,200        2.17%    $    2,200        2.34%    $    2,200        2.55%    $     2,200        2.16%
Maintenance & Repairs                    $       8,580          0.90% $       1,349         0.84%   $       -        0.00%   $      443        0.52%    $      2,581       2.54%    $    1,504        1.48%    $     1,504        1.48%    $      -          0.00%    $    1,199        1.39%    $       -          0.00%
Scavenger                                $         -            0.00% $         -           0.00%   $       -        0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
SICOM(POS System)                        $       5,605          0.59% $         296         0.18%   $         93     0.08%   $    1,354        1.59%    $        379       0.37%    $    1,234        1.21%    $     1,234        1.21%    $      -          0.00%    $      408        0.47%    $       607        0.60%
Uniforms                                 $       1,031          0.11% $         231         0.14%   $       -        0.00%   $        68       0.08%    $        267       0.26%    $      160        0.16%    $       160        0.16%    $      -          0.00%    $      102        0.12%    $         43       0.04%
Utilities                                $      31,104          3.27% $       4,755         2.96%   $     6,220      5.24%   $      809        0.95%    $      1,087       1.07%    $    4,754        4.68%    $     4,754        4.68%    $    2,740        2.91%    $    2,577        2.98%    $     3,408        3.34%
Phone                                    $         112          0.01% $         -           0.00%   $       -        0.00%   $      112        0.13%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Direct TV                                $           78         0.01% $         -           0.00%   $         78     0.07%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Rent                                     $       9,000          0.95% $         -           0.00%   $     9,000      0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%
Real Estate Taxes                        $       1,927          0.20% $         -           0.00%   $     1,927      0.00%   $      -          0.00%    $        -         0.00%    $      -          0.00%    $       -          0.00%    $      -          0.00%    $      -          0.00%    $       -          0.00%

Total General & Administratve Expenses   $      96,894         10.18% $      16,190       10.09% $       22,642     19.08% $      7,749        9.09% $        10,535      10.36% $      13,517       13.30% $       14,019       13.80% $       9,362        9.94% $      10,369       12.00% $        9,842        9.65%
Net Income                               $    193,989          20.38% $      45,104       28.10% $       32,655     27.51% $     14,692       17.23% $        19,918      19.58% $      21,170       20.84% $       21,170       20.84% $      17,355       18.43% $       8,003        9.26% $       13,922       13.65%
Note : This Consolidated and individual store Income Statement was prepared on a cash basis with supporting documentation from
        Actual November 2016 Bank Statements obtained from US Bank.
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                                                                                                 P3,LLC
                                                                                       Debtor in Possession
                                                                Cash Basis Consolidated and Individual Store Income Statement
                                                                            October 11 ending October 31,2016
                                                                                   (See Notes to Income Statement)
Store Numbers                            All Stores      % to Sales      139       % to Sales         2423       % to Sales   2794     % to Sales       2920       % to Sales           3519     % to Sales       3970       % to Sales       4006     % to Sales       4669     % to Sales       13662     % to Sales

Deposited Sales                          $    606,024     100.00% $      100,749      100.00% $       84,606    100.00% $     54,475    100.00% $        72,946          100.00% $      56,065    100.00% $        65,915     100.00% $       54,261    100.00% $       52,267    100.00% $        64,740    100.00%

Cost of Goods Sold                       $    213,373      35.21% $       33,630       33.38% $       34,552     40.84% $     20,127      36.95% $       21,590            29.60% $     20,321      36.25% $       19,394       29.42% $      21,068      38.83% $      24,242      46.38% $       18,449      28.50%

Gross Profit                             $    392,651      64.79% $       67,119       66.62% $       50,054     59.16% $     34,348      63.05% $       51,356            70.40% $     35,744      63.75% $       46,521       70.58% $      33,193      61.17% $      28,025      53.62% $       46,291      71.50%

Labor

Store Managers                           $       4,857       0.80%   $       -          0.00%   $        -        0.00%   $    1,223       2.25%    $     1,364             1.87%   $    1,328       2.37%    $       -          0.00%    $      942       1.74%    $      -         0.00%                      0.00%
Crew                                     $      51,158       8.44%   $     8,395        8.33%   $      6,757      7.99%   $    3,791       6.96%    $     5,717             7.84%   $    3,496       6.24%    $     4,525        6.00%    $    3,583       6.60%    $    6,476      12.39% $        8,418      13.00%
Regional Managers                        $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $       -               0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
General Managers                         $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $       -               0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
CEO                                      $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $       -               0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%                                                0.00%
CEO Expenses                             $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $       -               0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%                                                0.00%
Payroll Taxes                            $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $       -               0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%

Total Labor                              $      56,015       9.24% $       8,395        8.33% $        6,757      7.99% $      5,014       9.20% $        7,081             9.71% $      4,824       8.60% $        4,525        6.00% $       4,525       8.34% $       6,476      12.39% $        8,418      13.00%

Burger King Expenses

Royalties                                $       3,807       0.63%   $       -          0.00%   $      3,807      4.50%   $      -         0.00%    $          -            0.00% $        -         0.00%    $          -       0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Rent                                     $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $          -            0.00%                    0.00%    $          -       0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Real Estate Taxes                        $         -         0.00%   $       -          0.00%   $        -        0.00%   $      -         0.00%    $          -            0.00%                    0.00%    $          -       0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Advertising                              $       3,384       0.56%   $       -          0.00%   $      3,384      4.00%   $      -         0.00%    $          -            0.00% $        -         0.00%    $          -       0.00%    $      -         0.00%    $      -         0.00%                      0.00%

Total Burger King Expenses               $       7,192       1.19% $         -          0.00% $        7,192      8.50% $        -         0.00% $             -            0.00% $        -         0.00% $             -       0.00% $         -         0.00% $         -         0.00% $          -         0.00%

General & Administrative Expenses

Payroll Processing                       $         962       0.16%   $       962        0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%    $       -         0.00%
Medical                                  $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%                     0.00%    $      -         0.00%    $       -         0.00%
Credit Card Charges                      $       8,331       1.37%   $     1,415        0.00%   $       172       0.00%   $      776       1.42%    $      994              1.36%   $      728       1.30%    $     1,261        1.91%    $    1,207       2.22%    $    1,024       1.96%    $       754       1.16%
Office                                   $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%    $       -         0.00%
POS/Menu System                          $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%    $       -         0.00%
Maintenance & Repairs                    $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
IT                                       $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Utilities                                $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Phone                                    $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%                      0.00%
Rent                                     $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%    $       -         0.00%
Real Estate Taxes                        $         -         0.00%   $       -          0.00%   $       -         0.00%   $      -         0.00%    $      -                0.00%   $      -         0.00%    $       -          0.00%    $      -         0.00%    $      -         0.00%    $       -         0.00%

Total General & Administratve Expenses   $       9,293       1.53% $       2,377        2.36% $         172       0.20% $        776       1.42% $         994              1.36% $        728       1.30% $        1,261        1.91% $       1,207       2.22% $       1,024       1.96% $          754       1.16%

Net Cash Income                          $    320,151      52.83% $       56,347       55.93% $       35,933     42.47% $     28,558      52.42% $       43,281            59.33% $     30,192      53.85% $       40,735       61.80% $      27,461      50.61% $      20,525      39.27% $       37,119      57.34%
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                                 Notes to Balance Sheet

    This Balance Sheet has been adjusted to the Cash Basis method of Accounting


As soon as the court order was signed on October 8,2016 employing Aldridge Chaseswater, LLC, Joan deSouza
Frank Phelps as accounting and business consultants, the added task of reconstructing the formal books
of accounts began to emerge. Starting September 22, 2016 the task of reconstructing the books
began prior to the court order by focusing on balances owed to all creditors, making sure payroll for +250
empoyees was properly taken care of including making sure all payroll taxes were all current, sanitation
measures were all current, sanitation measures were properly carried out, and in compliance with applicable
laws, studying an efficient electronic accounting reporting system to be installed, a necessity to protect
the financial investment made by all. Since date of filing on October 6, 2016 the process has been accelerated.


Please note that no reliable historical books of accounts exist and therefore beginning October 6, 2016 and
continuing forward are being developed and thus requiring further amendments to presented financial
statements may occur from time to time as further information unfolds.

Current Assets
Cash on Hand as shown is kept at each store in a secured manner under control of each store manager
and is signed off daily as counted each evening.

Cash in Bank as shown has been verified with US Bank demonstrated by a paper trail bank statement and
transaction journal prepared indepently by US Bank and signed off by a banking official.

Inventory is not shown but rather expensed off to each store because there is very little shelf life that can be
assigned to either perishable there is very little shelf life that can be assigned to either perishable
food and paper items.

Fixed Assets , Leasehold Improvements and Franchise Fee have not been depreciated or amortized at this point
in time until such time as an inventory can be concluded disclosing purchase can be concluded disclosing purchase
can be concluded disclosing purchase dates and a detailed list of said assets,

Other Assets
The amount due from Peterson has been estimated until investigation is completed determining the
correct amount to be recovered


Liabilities
All creditors' amounts due were taken from court records and/or company records and will be amended from
time to time as new information surfaces.

Capital
Because no reliable historialc records are available, the amount so stated will be amended once new data can
be verified.
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                                       P3, LLC
                                (Debtor in Possession)
                         Cash Flow Statement General (7225)
                         For 25 Days Ending October 31, 2016

Cash Flows from Operating Activities
   Operating Income                                                                  $       -
      Sales Tax Payable All StoresNet Cash Flow from Financing Activities            $   (70,703)
      Decrease in accounts Payable All Stores                                        $   (96,050)
      Net Cash Flow from Operating Activities for Store 2423                         $    (5,000)
                                                                                                    $   (171,753)

Cash Flows from Investing Activities
       Cash Deposit used to Open Debtor in Possession Main Account                   $      125
                                                                                     $      -
      Net Cash Flow from Investing Activities                                                       $       125


Cash Flows from Financing Activities
       Decrease in Notes Payable-Elements                                            $   (16,428)
                                                                                     $       -
                                                                                     $       -
      Net Cash Flow from Financing Activities                                                       $    (16,303)
      Net Change in Cash                                                                            $   (171,628)
      Beginning Cash Balance                                                                        $    367,484
      Ending Cash Balance                                                                           $    179,553
